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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 NORTHERN DIVISION

BARBARA G. VINCENT and
BARRY C. VINCENT                                                             PLAINTIFFS

VS.                                    3:20CV00417 JM

BOSTON SCIENTIFIC CORPORATION                                                DEFENDANT

                                              ORDER



        This case was directly filed in the United States District Court for the Southern District of

West Virginia as part of MDL 2326 (the “MDL”), case 2:13-cv-08669. On December 9, 2020,

the MDL Court issued a Transfer Order, transferring the case to this Court. The case was

returned with six pending motions filed in 2015 and 2016. (Docket #’s 47, 49, 86, 107, 108 and

109). These motions are denied without prejudice to refile in accordance with the deadlines set

by the Court in this case. If the parties contend that any previously filed motion was untimely

according to the scheduling order issued by the MDL, those arguments can be made upon

refiling.


        IT IS SO ORDERED this 12th day of January, 2021.




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                                                      UNITED STATES DISTRICT JUDGE
